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   1   KASOWITZ BENSON TORRES LLP
       JOHN V. BERLINSKI (SBN 208537)
   2
       jberlinski@kasowitz.com
   3   DANIEL A. SAUNDERS (SBN 161051)
       dsaunders@kasowitz.com
   4
       CANDACE FRAZIER (SBN 282358)
   5   cfrazier@kasowitz.com
       2029 Century Park East, Suite 2000
   6
       Los Angeles, CA 90067
   7   Telephone: (424) 288-7900
       Facsimile: (424) 288-7901
   8
       Attorneys for Plaintiff and Counter-
   9   Defendant Genting Malaysia Berhad
  10
       GIBSON, DUNN & CRUTCHER LLP
  11
       SCOTT A. EDELMAN (SBN 116927)
  12   sedlman@gibsondunn.com
       ANDREW M. ROACH (SBN 293375)
  13
       aroach@gibsondunn.com
  14   2029 Century Park East, Suite 4000
       Los Angeles, CA 90067-3026
  15
       Telephone: (310) 552-8500
  16   Facsimile: (310) 551-8741
  17   Attorneys for Defendants and Counter-
       Plaintiffs, Fox Entertainment Group LLC,
  18   Twentieth Century Fox Film Corp., and
  19   FoxNext, LLC, and Defendant Twenty-First
       Century Fox, Inc.
  20   (Additional counsel on next page.)
  21                      UNITED STATES DISTRICT COURT
  22                     CENTRAL DISTRICT OF CALIFORNIA
                               WESTERN DIVISION
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                          JOINT REPORT PURSUANT TO F.R.C.P. Rule 26
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   1
       GENTING MALAYSIA BERHAD, a             Case No. 2:18-cv-9866-FMO-JPR
   2   Malaysia corporation,
                                              JOINT REPORT PURSUANT TO
   3                     Plaintiff            F.R.C.P. Rule 26
   4                                          Date of Scheduling Conference: March
            vs.
   5   FOX ENTERTAINMENT GROUP,               21, 2019
   6
       LLC, a Delaware corporation, et al.,

   7                      Defendant
   8   WILLIAMS & CONNOLLY LLP
   9   JOSEPH M. TERRY
       jterry@wc.com
  10
  10   CARL R. METZ
  11
  11   cmetz@wc.com
       NICHOLAS G. GAMSE
  12
  12   ngamse@wc.com
  13
  13   KATHERINE MORAN MEEKS
       kmeeks@wc.com
  14
  14   LAUREN A. HOWARD
  15
  15   lhoward@wc.com
       725 Twelfth Street, N.W.
  16
  16
       Washington, D.C. 2005-5901
  17
  17   Telephone: (202) 434-5000
       Facsimile: (310) 434-5029
  18
  18
       Attorneys for Defendants and Counter-
  19
  19   Plaintiffs, Fox Entertainment Group LLC,
  20
  20   Twentieth Century Fox Film Corp., and
       FoxNext, LLC, and Defendant Twenty-First
  21
  21   Century Fox, Inc.
  22
  22
       IRELL & MANELLA LLP
  23
  23   STEVEN A. MARENBERG (SBN 101033)
  24
  24   smarenberg@irell.com
       VICTOR JIH (SBN 186515)
  25
  25   vjih@irell.com
  26
  26   MICHAEL D. HARBOUR (SBN 298185)
       mharbour@irell.com
  27
  27   1800 Avenue of the Stars, Suite 900
  28
  28   Los Angeles, CA 90067


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   1   Telephone: (310) 277-1010
   2
       Facsimile: (310) 203-7199

   3   Attorneys for Defendant The Walt Disney
   4
       Company

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   1         Plaintiff and Counter-Defendant Genting Malaysia Berhad (“GENM”) and
   2   Defendants and Counter-Plaintiffs Fox Entertainment Group, LLC (“FEG”),
   3   Twentieth Century Fox Film Corporation (“TCFFC”), and FoxNext, LLC
   4   (“FoxNext”), and Defendant Twenty-First Century Fox, Inc. (“21CF”) (collectively,
   5   “Fox”), and The Walt Disney Company (“Disney”) (together with Fox and GENM,
   6   the “Parties”), hereby submit this Joint Rule 26(f) Report pursuant to Fed. R. Civ. P.
   7   Rule 26(f), the Local Rules of this Court, and this Court’s Order Setting Scheduling
   8   Conference [Docket #36] dated January 23, 2019.
   9   I.    STATEMENT OF THE CASE
  10
  10          A.     GENM’s Statement of the Case
  11
  11         On or about June 1, 2013, GENM—a Malaysian company that develops,
  12
  12   operates, and markets casinos and integrated resorts—entered into a Memorandum
  13
  13   of Agreement (“MOA”) with FEG1 that permitted GENM to license Fox’s
  14
  14   intellectual property for use in the construction of the world’s first Fox-branded
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  15   theme park (“Fox World” or the “Park”). The MOA set forth “Key Milestone”
  16
  16   deadlines for the Park’s development and opening, certain of which were extended
  17
  17   in two amendments to the MOA as a result of delays caused by FEG’s unreasonable
  18
  18   exercise of its approval rights.2 When FEG’s further unreasonable delays
  19
  19   necessitated another extension to certain of the Key Milestone deadlines, however,
  20
  20   FEG—rather than extending the Key Milestone deadlines as required under the
  21
  21

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  23
  23     FEG was previously known as Fox Entertainment Group, Inc., including at the
       time the parties entered into the MOA, and/or is the successor in interest to that
  24
  24
       entity. References to “FEG” herein thus include both legal forms of Fox
  25
  25   Entertainment Group (“LLC” and “Inc.”), as applicable. As FEG entered into the
       MOA “as Administrator” for TCFFC, and as FoxNext is the Fox division currently
  26
  26
       overseeing Fox World, references to “FEG” shall thus hereinafter include TCFFC
  27
  27   and FoxNext.
       2
         The MOA, as amended, is referred to herein as the “Agreement.”
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   1   MOA—sent GENM a purported Notice of Default leading to the termination the
   2   Agreement.
   3         GENM alleges that, through abuse of its approval rights and other improper
   4   behavior, FEG caused significant delays in the development and construction of the
   5   Park that prevented GENM from meeting the Key Milestone deadlines. GENM
   6   alleges that FEG breached the Agreement by, among other things, refusing to extend
   7   the Key Milestone deadlines in connection with Fox’s delays and improperly issuing
   8   a purported Notice of Default and terminating the Agreement. GENM also alleges
   9   that FEG breached the implied covenant of good faith and fair dealing by, among
  10
  10   other things, failing to provide GENM with the level of support and information
  11
  11   typically provided by the licensor of a branded theme park of Fox World’s size and
  12
  12   scale and abusing its discretion in the approvals process. In addition, GENM alleges
  13
  13   that Disney and 21CF intentionally interfered with and induced breach of the
  14
  14   Agreement by improperly directing FEG to terminate the Agreement. Finally,
  15
  15   GENM seeks a declaration that it has not breached the Agreement and that FEG
  16
  16   therefore had no right to terminate it and has no right to any termination fees.
  17
  17          B.     Fox’s Statement of the Case
  18
  18         FEG and 21CF deny GENM’s allegations and assert, among other defenses,
  19
  19   that FEG’s termination was proper and that GENM’s claims are barred by its own
  20
  20   breach of contract. Contrary to the assertions in GENM’s complaint, the missed
  21
  21   Key Milestone deadlines owed entirely to GENM’s mismanagement of the Park.
  22
  22   These missed deadlines, along with GENM’s failure to deliver a theme park of the
  23
  23   promised “first-class, world-class” quality, form the basis for FEG’s counterclaim
  24
  24   for breach of contract. As alleged in the counterclaim, GENM repeatedly began
  25
  25   constructing rides and attractions before it had secured required approval from FEG,
  26
  26   or before it had even completed a design at all. Additionally, GENM made material
  27
  27   changes to approved designs and began building those designs without seeking
  28
  28   FEG’s approval or otherwise not in conformity with planned designs. This cavalier
                                                 2
                          JOINT REPORT PURSUANT TO F.R.C.P. Rule 26(f)
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   1   approach required GENM to tear down or retrofit numerous structures, causing
   2   delays and contributing to persistent quality problems at the Park. Additionally,
   3   FEG alleges that GENM failed to provide the type of professional project
   4   management necessary to develop a theme park of Fox World’s size and complexity
   5   on time and on budget. In addition to its claim for breach of contract, FEG
   6   counterclaims that GENM violated its duty of good faith and fair dealing by
   7   misleading FEG about the progress of the Park, excluding FEG personnel from
   8   meetings, and flagrantly disregarding FEG’s contractual approval rights.
   9          C.     Disney’s Statement of the Case
  10
  10         Disney unequivocally denies the allegations of the Complaint that it
  11
  11   improperly directed FEG to terminate GENM's MOA with FEG or otherwise
  12
  12   interfered in any contractual relationship between GENM and FEG. Disney
  13
  13   affirmatively states that FEG's decision to terminate the MOA was made by FEG
  14
  14   independently and without any input from Disney.
  15
  15   II.   SUBJECT MATTER JURISDICTION
  16
  16         This Court has subject matter jurisdiction over this action pursuant to 28
  17
  17   U.S.C. § 1332 because there is complete diversity of citizenship and the amount in
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  18   controversy exceeds $75,000. Plaintiff and Counter-Defendant GENM is a
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  19   Malaysian corporation with its principal place of business in Malaysia. Defendant
  20
  20   and Counter-Plaintiff FEG is a Delaware corporation with its principal place of
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  21   business in California. Defendant and Counter-Plaintiff TCFFC is a Delaware
  22
  22   corporation with its principal place of business in California. Defendant and
  23
  23   Counter-Plaintiff FoxNext is a Delaware corporation with its principal place of
  24
  24   business in California. Defendant 21CF is a Delaware corporation with its principal
  25
  25   place of business in California. Defendant Disney is a Delaware corporation with its
  26
  26   principal place of business in California.
  27
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   1   III.   LEGAL ISSUES
   2          GENM and Fox each allege that the other party breached the Agreement.
   3   GENM, on the one hand, and 21CF and Disney, on the other, dispute whether 21CF
   4   and Disney interfered with the Agreement.
   5   IV.    PARTIES, EVIDENCE, ETC.
   6          A.     Parties
   7          The parties to this dispute are Plaintiff and Counterclaim Defendant Genting
   8   Malaysia Berhad; Defendants and Counterclaimants Fox Entertainment Group,
   9   LLC, Twentieth Century Fox Film Corporation, Twenty-First Century Fox, Inc., and
  10
  10   FoxNext, LLC; and Defendant The Walt Disney Company. The Court’s Scheduling
  11
  11   Order asks the parties to “identify all subsidiaries, parents and affiliates.” For each
  12
  12   of the parties, this would be an extremely voluminous list. Accordingly, the parties
  13
  13   list below the publicly held companies that are their ultimate corporate parents.
  14
  14                1.         GENM
  15
  15          Genting Berhad, a publicly listed company incorporated in Malaysia, is the
  16
  16   parent corporation of Genting Malaysia Berhad.
  17
  17                2.         Fox
  18
  18          Twenty-First Century Fox, Inc., a publicly held company, is the ultimate
  19
  19   parent corporation of Fox Entertainment Group, LLC, Twentieth Century Fox Film
  20
  20   Corporation, and FoxNext, LLC.
  21
  21                3.         Disney
  22
  22          Defendant The Walt Disney Company is a publicly held corporation. There is
  23
  23   no corporate parent of The Walt Disney Company.
  24
  24          Pursuant to Fed. R. Civ. P. 26(a)(1), the parties agree to exchange (a) the
  25
  25   name and, if known, address and telephone number of each individual known to
  26
  26   have discoverable information that the disclosing party may use to support its claims
  27
  27   or defenses, and (b) a computation of each category of damages claimed by the
  28
  28   disclosing party, as well as documents supporting each category of damages
                                                  4
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   1   presently calculable without further fact or expert discovery, on or before April 8,
   2   2019. The parties will produce documents supporting their claims and defenses on a
   3   rolling basis in connection with their responses to requests for production.
   4   V.    INSURANCE
   5         GENM does not have insurance coverage for this litigation. Fox does not
   6   have insurance coverage for this litigation. Disney is unaware of any policies of
   7   insurance providing coverage for the claims asserted in Genting's complaint.
   8   VI.   MAGISTRATE JUDGE
   9         The parties wish to have the District Court Judge preside over this action for
  10
  10   all purposes other than those referred to the magistrate judge pursuant to the Court’s
  11
  11   Standing Order.
  12
  12   VII. DISCOVERY
  13
  13          A.     Fact Discovery Completion Dates
  14
  14         The parties were unable to agree on the deadline for fact discovery, though
  15
  15   the parties agree as to the schedule for the remaining case events. The parties have
  16
  16   set forth their competing proposed scheduling orders as Exhibit 1. The principal
  17
  17   area of disagreement is the period of time for the parties to complete their document
  18
  18   production.
  19
  19                 1.      GENM’s Statement of Position
  20
  20         GENM expects document production in this case—centering around a theme
  21
  21   park project nearly six years in the making, over 8000 miles from Los Angeles, and
  22
  22   costing approximately $750 million—to be particularly complex. Among other
  23
  23   things, Fox has requested documents relating to every phase of the park’s
  24
  24   development, design, and construction, as well as the advertising and marketing of
  25
  25   the park and GENM’s finances. GENM therefore anticipates that document
  26
  26   collection and production will be quite voluminous. Furthermore, Fox inquired
  27
  27   during the parties’ meet and confer regarding GENM’s control over documents in
  28
  28   the possession of GENM’s third-party vendors, contractors, and consultants.
                                                 5
                          JOINT REPORT PURSUANT TO F.R.C.P. Rule 26(f)
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   1   GENM’s analysis of the extent of its control over such parties, if any, is ongoing,
   2   but GENM anticipates potential disputes relating to these issues and/or potential
   3   complications relating to the collection of documents from any such third parties
   4   that are determined to be within GENM’s control. Finally, GENM expects
   5   production to be further complicated by, among other things, the privacy laws of
   6   Malaysia and other foreign jurisdictions as applicable, which impose significant
   7   criminal penalties for the unlawful transmission of personal information. All of
   8   these factors will make a six-month deadline for document production—as proposed
   9   by Fox and Disney—untenable. Therefore, GENM proposes that the deadline for
  10
  10   completion of party document production be February 28, 2020, in order to provide
  11
  11   sufficient time for collection and production of documents and resolve disputes over
  12
  12   the scope of discovery.
  13
  13                2.       Fox and Disney’s Statement of Position
  14
  14         GENM proposes that the deadline for the completion of party document
  15
  15   production be February 28, 2020—fifteen months after filing their complaint and
  16
  16   one year after receiving Defendants’ document requests. GENM further proposes
  17
  17   the parties not begin party depositions until that time, and that the parties not
  18
  18   complete fact discovery until July 31, 2020. Fox and Disney believe that GENM’s
  19
  19   proposed schedule is unreasonably leisurely and that the parties can complete
  20
  20   document production in substantially less time. Fox and Disney believe that the
  21
  21   parties can complete document production, and thereafter begin party depositions, in
  22
  22   six months. Accordingly, Fox and Disney propose that the parties complete their
  23
  23   document productions by September 2, 2019, and complete fact discovery by
  24
  24   December 31, 2019—seven months faster than under GENM’s schedule.
  25
  25          B.     Protocol for Electronically Stored Information.
  26
  26         The parties will confer regarding a mutually agreeable protocol for discovery
  27
  27   of electronically stored information in connection with their initial discovery
  28
  28   requests. The parties will also confer regarding a protective order.
                                                  6
                          JOINT REPORT PURSUANT TO F.R.C.P. Rule 26(f)
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    1          C.       Procedures for Resolving Disputes Regarding Claims of Privilege.
    2         The parties agree to use the procedures set forth in Fed. R. Civ. Proc. Rule
    3   26(b)(5) regarding any claims of privilege or protecting materials asserted as being
    4   for trial-preparation.
    5          D.       Changes in Discovery Limitations.
    6         The parties do not request any changes in the discovery limitations set forth in
    7   the FRCP. However, in light of the complexity of the case, and the many relevant
    8   witnesses, the parties anticipate that they will stipulate that more than 10 party
    9   depositions will be taken by each party. The parties will negotiate a more
  10
  10    appropriate limit as discovery progresses.
  11
  11           E.       Proposed Expert Discovery Schedule.
  12
  12          The parties have agreed to the appropriate time for expert discovery, and
  13
  13    propose the following dates and deadlines. The schedule is also set forth in Exhibit
  14
  14    1.
  15
  15                 For any issue for which a given party bears the burden of proof, the
  16
  16                   deadline for such party to disclose the identities of expert witnesses the
  17
  17                   party may use at trial, and the deadline to file any written report from
  18
  18                   such expert witness, shall be 90 days after the close of fact discovery.
  19
  19                 Rebuttal expert reports shall be filed by 60 days after the service of
  20
  20                   initial expert reports.
  21
  21                 Reply expert reports shall be filed by 30 days after the service of
  22
  22                   rebuttal expert reports.
  23
  23                 The deadline for completion of expert depositions shall be 45 days after
  24
  24                   service of reply expert reports.
  25
  25    VIII. MOTIONS
  26
  26          At this time, the parties do not anticipate any motions seeking to add other
  27
  27    parties or claims, to file amended pleadings, or to transfer venue, but respectfully
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                             JOINT REPORT PURSUANT TO F.R.C.P. Rule 26(f)
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    1   reserve the right to seek amendment if deemed appropriate as discovery and
    2   litigation proceed.
    3   IX.   CLASS CERTIFICATION
    4         Not applicable.
    5   X.    DISPOSITIVE MOTIONS
    6         The parties believe that, at the close of discovery, dispositive motions will
    7   likely be appropriate. The parties propose that the deadline for filing dispositive
    8   motions shall be 45 days after the close of expert discovery. The parties propose
    9   that the deadline for dispositive motion oppositions shall be 45 days after the service
  10
  10    of dispositive motions. The parties propose that the deadline for summary judgment
  11
  11    replies shall be 30 days after service of the summary judgment oppositions. See
  12
  12    Exhibit 1.
  13
  13    XI.   SETTLEMENT/ALTERNATIVE DISPUTE RESOLUTION (ADR)
  14
  14          The parties have not engaged in oral or written settlement discussions since
  15
  15    the filing of this action. If the parties cannot resolve this matter informally, they
  16
  16    plan to pursue voluntary, private mediation pursuant to ADR Procedure No. 3
  17
  17    (Local Rule 16-15.4) before trial.
  18
  18    XII. PRETRIAL CONFERENCE AND TRIAL
  19
  19          The parties propose that the deadline for the pretrial conference shall be 90
  20
  20    days after service of the summary judgment replies. The parties propose that the
  21
  21    trial ready date shall be 14 days after the pretrial conference. See Exhibit 1.
  22
  22    XIII. TRIAL ESTIMATE
  23
  23          At this time, the parties estimate that a trial will last 20 trial days but note that
  24
  24    no discovery has been exchanged. At this time, the parties are unable to estimate
  25
  25    the number of witnesses to be called.
  26
  26    XIV. TRIAL COUNSEL
  27
  27          At the outset of the case, the parties expect that they will be represented by
  28
  28    the following lead trial counsel:
                                                   8
                              JOINT REPORT PURSUANT TO F.R.C.P. Rule 26(f)
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    1                 1.        GENM: John V. Berlinski of Kasowitz Benson Torres LLP.
    2                 2.        Fox: Joseph M. Terry of Williams & Connolly LLP.
    3                 3.        Disney: Steven A. Marenberg of Irell & Manella LLP
    4   XV. INDEPENDENT EXPERT OR MASTER
    5           The parties agree that appointment of an independent scientific expert or a
    6   master, pursuant to Federal Rules of Civil Procedure 53, is not necessary at this
    7   time.
    8   XVI. OTHER ISSUES
    9                 1.        Complex Litigation.
  10
  10            The parties agree that it is not necessary for the Court to utilize the procedures
  11
  11    of the Manual For Complex Litigation.
  12
  12                  2.        Bifurcation.
  13
  13            The parties propose bifurcation of the issue of GENM’s entitlement to
  14
  14    punitive damages on its tort claims against 21CF and Disney.
  15
  15                  3.        Non-English speaking witnesses.
  16
  16            The parties anticipate that they may call certain witnesses who do not speak
  17
  17    English and who will need to testify with the assistance of a translator.
  18
  18                  4.        Discovery in foreign jurisdictions.
  19
  19            GENM is based in Malaysia, and many of its consultants and vendors having
  20
  20    relevant information are based in Asia and Europe. The parties therefore anticipate
  21
  21    that discovery may implicate the laws of Malaysia and other foreign jurisdictions.
  22
  22    In addition, many foreign third parties possess relevant information, and the parties
  23
  23    expect that third-party discovery will require compliance with the Hague
  24
  24    Convention and/or the issuance of letters rogatory.
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    1   DATED: March 7, 2019
    2

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    4

    5                                     John V. Berlinski
                                          KASOWITZ BENSON TORRES LLP
    6                                     Attorneys for Plaintiff
    7                                     Genting Malaysia Berhad
    8   DATED: March 7, 2019
    9
                                                /s/ Joseph M. Terry
  10
  10                                      Joseph M. Terry
                                          WILLIAMS & CONNOLLY LLP
  11
  11
                                          Attorneys for Fox Entertainment Group, LLC,
  12
  12                                      Twentieth Century Fox Film Corporation,
                                          Twenty-First Century Fox, Inc., and FoxNext,
  13
  13
                                          LLC
  14
  14
        DATED: March 7, 2019
  15
  15

  16
  16                                            /s/ Steven A. Marenberg
                                          Steven A. Marenberg
  17
  17
                                          IRELL & MANELLA LLP
  18
  18                                      Attorneys for The Walt Disney Company
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                        JOINT REPORT PURSUANT TO F.R.C.P. Rule 26(f)
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    1                       ATTESTATION OF AUTHORIZATION
    2         Pursuant to Central District of California Local Rule 5-4.3.4(a)(2)(i), I hereby
    3   certify that the content of this document is acceptable to Joseph M. Terry, counsel
    4   for Fox Entertainment Group, LLC, Twentieth Century Fox Film Corp., Twenty-
    5   First Century Fox, Inc., FoxNext, LLC, and Steven A. Marenberg, counsel for the
    6   Walt Disney Company. I have obtained their authorization to affix their electronic
    7   signatures to this document.
    8

    9   DATED: March 7, 2019
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  13                                           John V. Berlinski

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    4                                    EXHIBIT 1

    5                 Proposed Genting/Fox/Disney Discovery Schedule

    6    Deadline                                  Fox/Disney      Genting
         RFPs Exchanged                                   3/1/2019         3/1/2019
    7    Initial Disclosures                              4/8/2019         4/8/2019
    8    Productions Complete / Begin Party
                                                          9/2/2019         2/28/2020
         Depositions
    9    End Date for Fact Discovery                    12/31/2019         7/31/2020
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  10     Submission of Expert Reports on All
                                                        90 Days After Fact Discovery
         Issues for Which Party Bears the Burden
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         Responsive Expert Reports                      60 Days After Expert Reports
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  12     Rebuttal Expert Reports                    30 Days After Responsive Reports
         Complete Expert Depositions                   45 Days After Rebuttal Reports
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  13
         Summary Judgment Motions                     45 Days After Expert Discovery
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  14     Summary Judgment Oppositions                       45 Days After SJ Motions
         Summary Judgment Replies                       30 Days After SJ Oppositions
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  15
         Pretrial Conference                                 90 Days After SJ Replies
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  16     Trial Ready                                14 Days After Pretrial Conference
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